                              Case 3:24-bk-00496-BAJ      Doc 145-1           Filed 06/24/24   Page 1 of 6
Label Matrix for local noticing              20 Development LLC                                A Complete Home Inspection LLC
113A-3                                       1089 E Benchview Drive                            110 Velsco Lane
Case 3:24-bk-00496-BAJ                       Ogden, UT 84404-3783                              Port Sulphur, LA 70083-2362
Middle District of Florida
Jacksonville
Mon Jun 24 14:11:15 EDT 2024
ALV Capital LLC                              ALV Capital LLC                                   AMRODDO HOLDINGS, LLC
23 Upton St                                  c/o Strauss Law Group PLLC                        625 WOODMONT AVE
Peabody, MA 01960-0060                       264 South River Road, Box 552                     BERKELEY, CA 94708-1233
                                             Bedford, NH 03110-7058


Acres & Royalty LLC                          Adaptive Medical Technologies LLC                 Ajer LLC
205 N Michigan Ave                           7349 Paseo Del Sur                                1070 S 650 West
Chicago, IL 60601-5927                       Scottsdale, AZ 85258                              Farmington, UT 84025-4603



Alere LLC                                    Ameiva LLC                                        Amrodddo Holdings LLC
1530 E. Williams Field Rd 201                282 E 300 S                                       2283 Candlestick Ave
Gilbert, AZ 85295-1825                       Smithfield, UT 84335-1636                         Henderson, NV 89052-2361



Andorful Dynasty Real Estate LLC             Another Chance Group Home Inc                     Anvil Construction Inc
4826 Cragmere Loop                           54 N Vista Ave                                    470 N. Main Street
Clermont, FL 34711-5523                      Casa Grande, AZ 85122-3193                        Brigham City, UT 84302-1858



Archer Capital Investments                   Autonomous Drine Solutions LLC                    Autonomous Drone Solutions DBA Calaway Solut
Attn: Michael Thompson                       dba Calaway Solutions                             2121 Brittmoore 2200
1448 W. Salmon Caddis Drive                  Attn: Garrett Calaway                             Houston, TX 77043-2220
Bluffdale, UT 84065-5122                     7180 S Hudson Circle
                                             Centennial, CO 80122-2553

BAYI Capital Management LLC                  (p)BELLE MAISON REALTY LLC                        Bild Credit LLC
148 Undercliff Avenue                        ATTN LEA MUSE                                     30 N Gould Street 30212
Edgewater, NJ 07020-1275                     1133 E 83RD ST                                    Sheridan, WY 82801-6317
                                             171
                                             CHICAGO IL 60619-6455

Bold City Commercial LLC                     Scott E Bomkamp                                   Braces at Brick, PA
4426 CAPITAL DOME DR                         DOJ-Ust                                           900 Cedar Bridge Avenue
Jacksonville, FL 32246-7456                  United States Trustee                             Brick, NJ 08723
                                             400 W. Washington St.
                                             Ste 1100
                                             Orlando, FL 32801-2440
Brooklyn Heights                             Brooklyn Heights LLC                              Bryan K. Mickler
307 N Lincoln Street                         307 N Lincoln Street                              Attorney for the Debtor
307 N Lincoln Street                         Tallulah, LA 71282-4314                           5452 Arlington Expy.
Tallulah, LA 71282-4314                                                                        Jacksonville, FL 32211-6860


Bull & Bear Properties LLC                   Business Live Global USA LLC                      Business Live Global USA, LLC
1140 E 87th Street                           4538 Walnut Ridge Circle                          4538 Walnut Ridge Circle
Chicago, IL 60619-7012                       4538 Walnut Ridge Circle                          Mc Donald, PA 15057-1608
                                             McDonald, PA 15057-1608
                               Case 3:24-bk-00496-BAJ      Doc 145-1         Filed 06/24/24   Page 2 of 6
Lisa Butkiewicz                               CNF Solutions LLC                               CannaVision Inc
6501 E. Greenway Parkway                      135 East 620 South                              777 Main Street 600
#103-218                                      Smithfield, UT 84335-4901                       Fort Worth, TX 76102-5368
Scottsdale, AZ 85254-2025


Charles Blake Stringer/Nutra-AcresLLC         Cobb Utilities Inc                              Cool Beanz LLC
149 South Shore Drive                         191 Honey Suckle Circle                         6585 Decatur Blvd
Amarillo, TX 79118-8007                       Ranger, GA 30734-6792                           Las Vegas, NV 89118-2110



Cool Beanz, LLC                               Dajo Properties LLC                             Darnell Development
143 West Fulton Street                        11360Chestnut Tree Rd                           1118 N Chinowth
Sanford, FL 32771-1218                        Honey Brook, PA 19344                           VISALIA, CA 93291-7896



Darnell Development, LLC                      Ryan E Davis                                    Dun Agro Hemp Group Inc
2814 W Newton CT                              Winderweedle Haines Ward & Woodman P.A.         P.O. Box 475
Visalia, CA 93291-6593                        329 Park Avenue North, Second Floor             Shelbyville, IN 46176
                                              Winter Park, FL 32789-7421


Duval County Tax Collector                    Edge Development LLC                            Expansive Investments, LLC
231 Forsyth St. #130                          315 239th Ct. SE                                3855 S 500 W B
Jacksonville FL 32202-3380                    Sammamish, WA 98074-3687                        Salt Lake City, UT 84115



Faith Investor Services, LLC                  Faith Investors Services LLC                    Fehu Capital Inc
1522 4th Ave                                  1522 4th Ave                                    3139 W. Holmbe Blvd A 77025-1533
Asbury Park, NJ 07712-4962                    Asbury Park, NJ 07712-4962



Ficarra Holdings LLC                          Edward M Fitzgerald                             Florida Dept of Revenue
408 Billings Road                             Holland & Knight LLP                            P.O. Box 6668
Somers, CT 06071-2037                         200 South Orange Ave                            Tallahassee, FL 32314-6668
                                              Suite 2600
                                              Orlando, FL 32801-3453

Florida Dept. of Revenue                      Foster Group LLC                                Genie Investments NV Inc.
Bankruptcy Unit                               2539 N 300 E                                    PO Box 60443
P.O. Box 6668                                 Lehi, UT 84043-4403                             Jacksonville, FL 32236-0443
Tallahassee, FL 32314-6668


Global Verse Holdings LLC                     Golden Goods LLC                                H&M Essential Services, LLC
1709 Vintage Lane                             3620 West 10th Street                           221 N Broad Street 3A
Wylie, TX 75098-0816                          Greeley, CO 80634-1853                          Middletown, DE 19709-1070



Half a Dime, LTD                              Heliosun LLC DBA Odin                           High Dunes II LLC
Box 653                                       1600 S Litchfield Rd 230A                       17 Lockwood Drive
Alberta                                       Goodyear, AZ 85338                              Charleston, SC 29401-1190
                              Case 3:24-bk-00496-BAJ      Doc 145-1           Filed 06/24/24   Page 3 of 6
Holland & Knight LLP                         Hospitality Growth Capital LLC                    Hospitality Growth Capital LLC
c/o Noel Boeke, Esq.                         23 Upton St                                       c/o Strauss Law Group PLLC
100 N. Tampa St., Ste. 4100                  Peabody, MA 01960-0060                            264 South River Road, Box 552
Tampa, FL 33602-3644                                                                           Bedford, NH 03110-7058


Humane Care 7 Days Medical Group Inc         IRS                                               Internal Revenue Service
6552 Bolsa Avenue N                          Centralized Insolvency Operations                 PO Box 7346
Huntington Beach, CA 92647-2656              P.O. Box 7346                                     Philadelphia, PA 19101-7346
                                             Philadelphia, PA 19101-7346


Iron Dragon Corporation                      JC&TL Inc                                         Just Hewitt LLC
70 Winding Way                               13865 Magnolia Avenue B                           205 E Hidalgo Avenue
Gibbsboro, NJ 08026-1460                     Chino, CA 91710-7047                              Raymondville, TX 78580-2545



Knife & Spirit                               Knights Lending                                   Knut LLC
7217 E 4th Avenue                            1603 Capitol Ave, Ste. 413                        697 N 740 E 84043-1300
Scottsdale, AZ 85251-3634                    Cheyenne, WY 82001-4562



Latent Lending, LLC                          Latent Wealth Group LLC                           Law Offices of Mickler & Mickler, LLP
Latent Wealth Group, LLC                     302 N. Abajo Peak Way                             5452 Arlington Expy.
Mark Steiner                                 Heber City, UT 84032-6501                         Jacksonville, FL 32211-6860
302 N. Abajo Peak Way, UT 84032


Legacy Land Developers LLC                   Hal A. Levenberg, CIRA, CFE                       Lobenhaus Capital, LLC
1651 W 100th St                              YIP ASSOCIATES                                    6303 Lone Wolf Drive
CHICAGO, IL 60643-2128                       One Biscayne Tower                                Jamesville, NY 13078-9587
                                             2 S. Biscayne Blvd., Suite 2690
                                             Miami, FL 33131-1815

Log Cabin Building LLC                       MAA DFW Investments LLC                           MIMS-IPR, LLC
289 Parker Drive                             2509 Amelia Island                                1627 7th St S
Pittsburgh, PA 15216-1346                    Southlake, TX 76092-1583                          Clanton, AL 35045-8786



McMann Commercial Lending LLC                Meetopolis LLC                                    Michele Ruiz Productions, LLC DBA Ruiz Strat
500 N Michigan Ave 600                       Attn: Lisa Butkiewicz                             925 Century Park East 1700
Chicago, IL 60611-3754                       5434 E Kathleen Road                              West Hollywood, CA 90069
                                             Scottsdale, AZ 85254-1759


Bryan K. Mickler                             Moser Holdings, LLC                               My Dragonfly Home Solutions, LLC
Mickler & Mickler                            537 S. 150 E.                                     7700 Irvine Center Drive 800
5452 Arlington Expressway                    Smithfield, UT 84335-1654                         Irvine, CA 92618-3047
Jacksonville, FL 32211-6860


NCR Digital Corp                             NY SF Sunset Yards LLC                            New Mount Olive Church
237 Floyd Road                               64 Grand Street                                   2905 Macfarlane Crescent
Shirley, NY 11967-2941                       Brooklyn, NY 11249-4219                           2905 Macfarlane Crescent
                                                                                               Flossmoor, IL 60422-1427
                               Case 3:24-bk-00496-BAJ       Doc 145-1        Filed 06/24/24   Page 4 of 6
New Mount olive Missionary Baptist Church In   North Haven Lodging Partners LLC               North Haven Lodging Partners LLC
P.O. Box 1696                                  2517 W Brentridge Circle                       Benjamin J. Morris, c/o Foley & Lardner
Harvey, IL 60426-7696                          Sioux Falls, SD 57108-1573                     11988 El Camino Real, Suite 400
                                                                                              San Diego, CA 92130-2594


North Haven Lodging Partners, LLC              Nortical Capital Inc                           Nutra-Acres Inc
Attn: Benjamin Morris, Esq.                    921 E. Parker Street 1                         205 Michigan Ave
Foley & Lardner LLP                            Lakeland, FL 33801-1901                        Chicago, IL 60601-5927
11988 El Camino Real, Suite 400
San Diego, CA 92130-2594

Nutre Leasing LLC                              Nutre Leasing LLC                              On Site Life Care Inc.
23 Upton St                                    c/o Strauss Law Group PLLC                     41 Flatbush Avenue, 1st Floor
Peabody, MA 01960-0060                         264 South River Road, Box 552                  Brooklyn, NY 11217-1145
                                               c/o Strauss Law Group PLLC, 264 South Ri
                                               Bedford, NH 03110-7058

Oregon Business Management Group Inc           Phoenix Rising LLC                             Platinum Investments USA LLC
12600 SW 72nd Ave 140                          172 Center Bay                                 c/o THE CORPORATION TRUST COMPANY
Tigard, OR 97223-8356                          Jackson, WY 83001                              CORPORATION TRUST CENTER 1209 ORANGE ST
                                                                                              Wilmington, DE 19801-1120


Prine Energy Services LLC                      Ricks Ventures LLC                             Rolling By The Dozen RV Park LLC
450 Gears Road                                 1354 W 1900 S                                  40 Country Road 267
Houston, TX 77067-4529                         Logan, UT 84321-6882                           Somerville, TX 77879-5208



Rowehl & Russo Properties, LLC                 S&L Zeppeteli DBA SLZ Waste Inc                SSC Services Inc
237 Floyd Road                                 191 Moonachie Road                             80 Franklin Street
Shirley, NY 11967-2941                         Moonachie, NJ 07074-1309                       Framingham, MA 01702-6671



Secretary of the Treasury                      Seeking First LLC                              Seiler Tucker Inc
15th & Pennsylvania Ave., NW                   3320 Laurel Dale Drive                         400 Poydras Suite 1460
Washington, DC 20220-0001                      Tampa, FL 33618-1033                           New Orleans, LA 70130-3260



Skyward Tax & Accounting Service LLC           Solace Realty Concepts LLC                     Solar Capital Funding LLC
3505 Lake Lynda Dr. 200                        112 Lehigh Ave                                 23 Upton St
Orlando, FL 32817-8333                         Newark, NJ 07112-2036                          Peabody, MA 01960-0060



Solar Capital Funding LLC                      Solas Realty Concepts LLC                      Springer Farms Landholdings LLC
c/o Strauss Law Group PLLC                     112 Lehigh Avenue                              325 N 1200 E
264 South River Road, Box 552                  Newark, NJ 07112-2036                          American Fork, UT 84003-2049
c/o Strauss Law Group PLLC, 264 South Ri
Bedford, NH 03110-7058

Story Book Homes LLC                           Sun Coast Entertainment Live LLC               Sunlight Storage LLC
86 Mountain Avenue                             6960 Brescia Way                               3344 Bear Canyon Ln
Berkeley Heights, NJ 07922-2633                Orlando, FL 32819-5288                         Pleasant Grove, UT 84062-8016
                              Case 3:24-bk-00496-BAJ              Doc 145-1        Filed 06/24/24        Page 5 of 6
Taj Construction LLC                                 Temidayo Adebayo                                     Terry’s Florists LLC
10 Windsor Dr.                                       148 Undercliff Avenue                                46 English Plaza
Foxboro, MA 02035-2226                               Suite 9                                              Red Bank, NJ 07701-1693
                                                     Edgewater, NJ 07020-1123


The Farming Co Pty Ltd                               The Farming Co. PTY LTD                              The Generations Group
86 Lakeside Drive                                    86 Lakeside Dr.                                      1006 Top Hill Dr
Helena Valley                                        Helena, MT 59604                                     Brenham, TX 77833-2585
6056, Western Australia


The Generations Group-DonStrickland                  The Official Committee of Unsecured Creditor         TnC NOLA Holdings LLC
14312 Zion Gate Xing                                 c/o Noel R. Boeke                                    1461 Annunciaction Street B
Conroe, TX 77384-2516                                Holland & Knight LLP                                 New Orleans, LA 70130-4539
                                                     100 North Tampa Street, Suite 4100
                                                     Tampa, FL 33602-3644

U.S. Securities & Exchange Commission                Uncle Willie Green Wings                             United States Attorney
Office of Reorganization                             141 Lehigh Ave                                       300 North Hogan St Suite 700
950 East Paces Ferry Road, N.E.                      Newark, NJ 07112-2037                                Jacksonville, FL 32202-4204
Suite 900
Atlanta, GA 30326-1382

United States Trustee - JAX 11                       VTJ LLC                                              WW LLC
Office of the United States Trustee                  706 Leander DR                                       26620 E Hoxie Road
George C Young Federal Building                      Leander, TX 78641-5017                               Rockford, WA 99030-7003
400 West Washington Street, Suite 1100
Orlando, FL 32801-2210

Wai Holdings LLC                                     Wallingford Lodging Partners LLC                     Wallingford Lodging Partners LLC
45 North Market                                      2517 W Brentridge Circle                             Benjamin J. Morris, c/o Foley & Lardner
Wailuku, HI 96793-1756                               Sioux Falls, SD 57108-1573                           11988 El Camino Real, Suite 400
                                                                                                          San Diego, CA 92130-2594


West Palm Holdings Inc                               Winderweedle, Haines, Ward & Woodman, P.A.           Winslow Homes LLC
2705 Via Vistosa                                     c/o Ryan E. Davis                                    3539 Tuscany Reserve Blvd 32168-5334
San Clemente, CA 92672-3636                          PO Box 1391
                                                     Orlando, FL 32802-1391


Maria M Yip                                          Zelco Properties LLC
Yip & Associates                                     108 Patriot Dr A
2 South Biscayne Boulevard, Suite 2690               Middletown, DE 19709-8803
Miami, FL 33131-1815




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Belle Maison Realty, LLC
Attn: Lea Muse
1133 E 83rd Street 171
Chicago, IL 60619
                            Case 3:24-bk-00496-BAJ                Doc 145-1        Filed 06/24/24        Page 6 of 6


                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(d)Andorful Dynasty Real Estate LLC                  (d)Springer Farms Landholdings, LLC                  (u)Kristin Stegent
4826 Cragmere Loop                                   325 N 1200 E
Clermont FL 34711-5523                               American Fork, UT 84003-2049



(u)Adam B. Walker                                    End of Label Matrix
                                                     Mailable recipients   142
                                                     Bypassed recipients     4
                                                     Total                 146
